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 12
 13
 14                     UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 15
 16
       Gilbert Salinas,                      Case: 8:14-CV-01233-CJC-AN
 17
                 Plaintiff,                  Joint Rule 26 Conference Report
 18                                          and Discovery Plan
          v.
 19
       CBC Restaurant Corp., a Delaware
 20    Corporation; and Does 1-10,
 21              Defendants.
 22
 23
 24
 25
 26
 27
 28


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  1         Pursuant to Central District Local Rule 26-1 and Federal Rule of Civil
  2   Procedure 26(f), the parties submit their Joint Rule 26 Conference Report
  3   and Discovery Plan.
  4
  5
      Nature and Complexity of the Case
  6
       The parties have discussed the nature and complexity of the case. This is not
  7
      a “complex” case as that term is defined and there is no need for resort to the
  8
      Manual for Complex Litigation.
  9
 10
 11   Motion Schedule
 12   In a minute order dated April 30, 2015, this Court denied the defense motion
 13   to dismiss and defense motion for summary judgment. Additionally, this
 14   Court directed the plaintiff to file his own motion for summary judgment no
 15   later than June 29, 2015. See Docket Entry 43. The parties believe that a
 16   motion cut off date should be set for January 15, 2016.
 17
 18         Plaintiff: Plaintiff intends to file a motion for summary judgment well
 19
            in advance of the June 29, 2015 deadline. No other motions are
 20
            currently contemplated by the plaintiff.
 21
 22
            Defense: While the Defense will need to take the deposition of
 23
            Plaintiff, and possibly Plaintiff’s expert, in order to respond to
 24
            Plaintiff’s anticipated MSJ, the Defense currently does not anticipate
 25
 26
            any motions.

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  1   ADR Selection
  2   The parties select ADR Procedure 2: appearing before a neutral selected
  3   from the Court’s Mediation Panel. Defendant believes that ADR Procedure 1
  4
      (appearing before the District Judge or Magistrate Judge as the Court may
  5
      order) would more likely lead to the resolution of the case. The parties agree
  6
      that there is no reason for that ADR session to not take place promptly,
  7
      however, Defendant would like to take Plaintiff’s deposition first and is
  8
      prepared to do so almost immediately.
  9
 10
 11   Trial Estimate
 12   The parties estimate that the trial in this matter would take no longer than
 13   three days, if a jury trial and one day if a bench trial. The parties propose a
 14   Trial Date in February of 2016.
 15
 16   Additional Parties
 17   The parties do not believe it likely that there will be any additional parties
 18   added to this case.
 19
 20
      Discovery Plan
 21
            The parties will exchange initial disclosures under Rule 26 by May
 22
      18, 2015.The parties do not believe that there need to be any further changes
 23
      to the timing, form or requirement for disclosures under Rule 26(a)(1).
 24
            The parties are unaware of any issues about preserving discoverable
 25
 26
      information or about the disclosure of electronically stored information.

 27   Moreover, the parties do not believe that there are any issues regarding
 28


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  1   claims of privilege or work production protection and, therefore, do not ask
  2   the Court for any orders relating to such.
  3           The parties do not believe that discovery should be conducted in
  4
      phases or that there needs to be any changes to the limitations imposed on
  5
      discovery under the Federal and Local Rules.
  6
              The defense will need to take Plaintiff’s deposition (and possibly that
  7
      of Plaintiff’s expert), and hereby requests Plaintiff’s availability for the
  8
      same.     The defense may need an independent medical exam (IME) of
  9
      Plaintiff and/or discovery of Plaintiff’s medical history, in each case relating
 10
 11   to Plaintiff’s ability to reach in the areas of the counters in question in this
 12   action.
 13           The parties propose that experts be disclosed and reports be
 14   exchanged under Rule 26(a)(2)(B) by August 21, 2015.
 15
 16
 17   Dated: May 5, 2015         CENTER FOR DISABILITY ACCESS
 18                                           /s/ Mark Potter
 19                                    By: _____________________________
 20                                          Mark Potter
                                             Attorneys for Plaintiff
 21
 22
      Dated: May 5, 2015               CALIFORNIA JUSTICE ALLIANCE, APC
 23
 24                                           /s/ David. W. Peters
 25
                                      By: ________________________________
 26                                         David W. Peters
 27                                         Attorneys for Defendant
                                            CBC Restaurant Corp.
 28


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